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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                               )
    In re                                                      )
                                                               )   Case No. 25-90022 (ARP)
                                  1
    Telefónica del Perú S.A.A.,                                )
                                                               )
            Debtor in a Foreign Proceeding.                    )   Chapter 15
                                                               )

    STATEMENT NOTIFYING THE COURT OF DEVELOPMENTS IN THE PERUVIAN
          RESTRUCTURING PROCEEDING PURSUANT TO 11 U.S.C. § 1518

            1.     Timothy O’Connor (the “Petitioner” or the “Foreign Representative”), the duly-

authorized foreign representative of Telefónica del Perú S.A.A. (“Company” or the “Chapter 15

Debtor”) in its voluntary ordinary restructuring proceeding (the “PCO” or “Peruvian

Restructuring Proceeding”)2 commenced before the National Institute for the Defense of

Competition and Protection of Intellectual Property (Instituto Nacional de Defensa de la

Competencia y de la Protección de la Propiedad Intelectual) (“INDECOPI”) by the filing of a

petition (the “PCO Petition”) on February 24, 2025 pursuant to Article 24 the General Insolvency

Law (Ley General del Sistema Concursal) (Law No. 27809) (the “Peruvian Insolvency Law”),

of the laws of the Republic of Peru, respectfully submits this statement pursuant to section 1518

of title 11 of the United States Code to provide the United States Bankruptcy Court for the Southern

District of Texas (this “Court”) with a status update on the Peruvian Restructuring Proceeding.

            2.     On February 25, 2025, the Foreign Representative commenced the above-captioned

case under chapter 15 of Bankruptcy Code and filed with this Court, among other things, the



1
      The debtor in this chapter 15 case (the “Chapter 15 Case”) and the last four digits of the tax number in the
      jurisdiction in which it pays taxes is Telefónica del Perú S.A.A. (7491–Peru).
2
      The PCO case number is: PCO: 00026-2025/CCO-INDECOPI.
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Petitioner’s Declaration and Verified Petition for Recognition of the Peruvian Proceeding and

Motion for Order Granting Related Relief Pursuant to 11 U.S.C. §§ 105, 1509, 1515, 1517, 1520

and 1521 [ECF No. 2] seeking recognition of the Peruvian Restructuring Proceeding as the Chapter

15 Debtor’s foreign main proceeding (the “Recognition Petition”).

       3.      On February 26, 2025, the Court granted provisional relief imposing a stay of all

actions against the Chapter 15 Debtor and its assets in the U.S. through the Court’s consideration

of the Recognition Petition [ECF No. 31]. The hearing on the Recognition Petition is currently

scheduled for June 25, 2025 at 11:00 a.m. (prevailing Central Time).

       4.      On May 14, 2025, INDECOPI issued a resolution (the “INDECOPI Resolution”)

declaring the Chapter 15 Debtor to be admitted to the Peruvian Restructuring Proceeding. A true

and correct copy of the INDECOPI Resolution in Spanish and a certified English translation are

attached as Exhibit A. On May 16, 2025, INDECOPI formally notified the Company of the

INDECOPI Resolution.

       5.      On May 19, 2025, INDECOPI published a notice (the “INDECOPI Notice”) of

the initiation of the PCO in its Insolvency Gazette (Boletín Concursal). A true and correct copy of

the INDECOPI Notice in Spanish and a certified English translation are attached as Exhibit B. As

a result of the INDECOPI Notice and under the Peruvian Insolvency Law, all creditors are

automatically stayed from taking action against the Company and its assets in Peru in connection

with their pre-publication claims.

       6.      Shortly after the INDECOPI Resolution, INDECOPI also issued a resolution

accepting the Company’s withdrawal of a separate petition for a preventive insolvency proceeding

(Procedimiento Concursal Preventivo) pursuant to Article 103 of the Peruvian Insolvency Law

that the Company had recently filed with INDECOPI (the “PCP Petition”). The Company had



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filed the PCP Petition as an additional option to the PCO Petition for the Company’s

implementation of a potential future restructuring, but the Company ultimately determined that

continuing to seek INDECOPI’s acceptance of the PCO Petition (instead of the PCP Petition) was

in the best interest of the Company and its stakeholders to protect the Company’s assets in Peru as

soon as possible.

       7.      The Foreign Representative will keep this Court apprised of further developments.

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Dated: May 28, 2025
Houston, Texas

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                                   and Foreign Representative




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                                      Certificate of Service

        I certify that on May 28, 2025, I caused a copy of the foregoing document to be served via
electronic mail, U.S. mail, or first-class postage, as applicable, and by the Electronic Case Filing
System for the United States Bankruptcy Court for the Southern District of Texas.

                                                               /s/ Charles R. Koster
                                                               Charles R. Koster
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                         Exhibit A
                 INDECOPI Resolution
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                          Exhibit B
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